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   DCDM LAW GROUP, PC
 6
                              UNITED STATES BANKRUPTCY COURT
 7
                              SOUTHERN DISTRICT OF CALIFORNIA
 8

 9
     In re:                                    Case No. 12-16423 MM7
10
     IMAGENETIX, INC., a Nevada                Chapter 7
11   corporation,
                                               RESPONSE OF DCDM LAW GROUP, PC TO
12                                             APPLICATION OF TRIPHARMA AND
                                Debtor.        DAMESHEK FOR ORDER TO SHOW CAUSE
13                                             RE FRAUD PERPETRATED ON THE COURT,
                                               THE TRUSTEE, TRIPHARMA AND
14                                             DAMESHEK BY INTERVENORS WALTON
                                               LAW GROUP AND DCDM LAW GROUP;
15                                             DECLARATION OF DHEERAJ K. SINGHAL IN
                                               SUPPORT THEREOF
16

17                                             DATE: September 6, 2018
                                               TIME:  2:00 p.m.
18                                             PLACE: Department 1 (Judge M. Mann)
                                                      325 West “F” Street, San Diego, CA 92101
19
              DCDM Law Group, PC submits this Response to the Application of TriPharma and
20
     Dameshek for Order to Show Cause RE Fraud Perpetrated on the Court, the Trustee, TriPharma
21
     and Dameshek (collectively, “T/D”) by Intervenors Walton Law Group (“WLG”) and DCDM Law
22
     Group (“T/D Application”) filed as Document 1014.
23

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                                                   -1-           RESP. OF DCDM LAW GROUP TO T/D
                                                                  APPLICATION FOR OSC RE FRAUD
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 1                                               RESPONSE

 2   I.     INTRODUCTION

 3          The T/D Application asks the Court for a jaw-dropping list of remedies and sanctions

 4   arising from three misstatements relating to whether Walton had signed DCDM’s fee agreement

 5   with TriPharma. All three misstatements were set made in a March 2016 declaration supporting

 6   DCDM and WLG’s motion to intervene and an ex parte application to shorten time for a hearing

 7   on that motion. DCDM regrets the misstatements and has explained them below. But none of these

 8   misstatements have affected the outcome of any proceeding before this Court. T/D (and Hinds)

 9   assert that the trajectory of this bankruptcy proceeding, including the OSC re Contempt

10   proceeding, would be quite different if the Court had known about the absence of John Walton’s

11   signature on the DCDM Fee Agreement. The assertion sounds of wishful thinking from parties

12   that have been caught with their hands in the proverbial cookie jar.

13          In August 2017, this Court warned T/D about further attempts to challenge the validity of

14   the DCDM and WLG liens when it ruled on T/D’s motion to estimate liens:

15                 This court has rejected Movants' efforts to set aside its orders regarding
16                 Walton's liens in settlements with Debtor and the Trustee twice in this
                   case already, and it will reject this third indirect assault as well.
17
     (Doc. 801.) Yet, the T/D Application concedes that it is nothing more than another assault on the
18
     validity of the DCDM and WLG attorneys’ liens and another challenge to the Court’s Order
19
     approving the DCDM and WLG motion to intervene. In their 27 pages of vitriol and slanderous
20
     statements—none of which are supported by an accompanying declaration from Dameshek or
21
     anyone else with knowledge of the convoluted narrative—T/D provides a uniquely succinct
22
     explanation of why the Court should, among other things, dismiss the pending OSC re Contempt
23
     based upon T/D’s fraud, strike the WLG and DCDM liens and report both Walton and Singhal to
24
     the State Bar for possible disbarment:
25
                                  No fee agreement = no lien = no intervene.
26
     T/D Application Memo. at 5:14. See also T/D Application at 3 (setting forth requested remedies
27
     and sanctions). Indeed, the T/D Application makes clear that it is rooted in T/D’s unshakeable
28
                                                      -1-             RESP. OF DCDM LAW GROUP TO T/D
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 1   belief that neither DCDM nor WLG have a valid fee agreement and that, therefore, they should not

 2   have been allowed to intervene:

 3                  Secured Creditor TriPharma LLC (“TriPharma”) and Evan Dameshek
 4                  (“Dameshek”) (collectively “T/D”) hereby submit this Application for
                    Order to Show Cause (“AOSC”) against Intervenors Walton Law Group
 5                  (“WLG”) and DCDM Law Group (“DCDM”) for committing fraud on
 6                  the Court, the Trustee, T/D and the other parties to this bankruptcy
                    proceeding (“BK Case”) in connection with WLG/DCDM’s Joint
 7                  Motion to Intervene (“Joint Motion”) [Dkt. No. 514] and supporting Ex
 8                  Parte Application for Order Shortening Time (“Ex Parte Application”)
                    [Dkt. No. 515] (including the false Declaration of Dheeraj K. Singhal
 9                  and the deceptively redacted version of purported three-party bankruptcy
10                  case fee agreement between WLG, DCDM and Tripharma) which
                    fraudulently induced the Court to grant intervention by
11                  misrepresenting that the purported agreement had been fully
12                  executed while concealing that there was no fully executed
                    agreement in existence.
13
     T/D Application at 1-2. Later, when summarizing four pages of factual recitations that lack any
14
     evidentiary foundation, T/D reiterates that the T/D Application is nothing more than an assault on
15
     the validity of the DCDM and WLG liens:
16
                    To put it lightly, based on the foregoing summary of facts, T/D strongly
17
                    disputes that WLG or DCDM have valid liens in the BK Case because
18                  neither has a written fee contract applicable to the BK Case. And their
                    lies to the Court (and others) regarding the WDT Agreement has caused
19
                    T/D severe damage.
20
     Id. at 5:6-9. In another passage, T/D once again admits to its frustration with this Court and the
21
     OSC re Contempt proceedings, asserting that the bankruptcy case could have been resolved long
22
     ago had this Court deprived DCDM and WLG of standing to bring T/D’s deceitful conduct to the
23
     attention of this Court:
24
                    So, WLG/DCDM misrepresented that they had a valid lien to this
25                  Court, and concealed/redacted the signature, and the fox was let in
26                  the henhouse by this unsuspecting Court. At the time, no one – not the
                    Court, T/D, T/D’s counsel, the other attorneys, etc. – knew that allowing
27                  WLG/DCDM to intervene would allow them to perpetrate their extortion
28                  scheme. Why would they, WLG/DCDM are attorneys held to a high
                                                       -2-            RESP. OF DCDM LAW GROUP TO T/D
                                                                       APPLICATION FOR OSC RE FRAUD
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                    ethical standard, right? Unfortunately, the intervention (based on
 1
                    fraud) allowed for everything that has followed since. Thus, but for
 2                  WLG/DCDM’s fraud on the Court, there would have been no
                    intervention, no extortion, and this BK Case would have been
 3
                    wrapped up long ago.
 4
     T/D Application Memo. at 24:1-9. It bears noting that T/D is describing as “extortion” this Court’s
 5
     orders rejecting efforts to allow T/D to receive payments directly from the estate that would violate
 6
     this Court’s prior orders respecting the attorneys’ liens, including those of McKennon Schindler
 7
     LLP, as well as DCDM and WLG. Indeed, the purported “extortion” appears to be nothing more
 8
     than T/D being forced to address the outstanding attorneys’ liens securing valuable legal services
 9
     that T/D bargained for and received.
10
            As these passages from the T/D Application make self-evident, and as explained further
11
     below, the Court should deny the T/D Application because it is nothing more than another
12
     challenge to this Court’s orders acknowledging the prima facie validity of the DCDM and WLG
13
     attorneys’ liens.
14
            The Court should also deny the T/D Application because, as also explained below, none of
15
     the misstatements had any material impact on these bankruptcy proceedings.
16
     II.    THE MISSTATEMENTS AND RELEVANT PLEADINGS FILED BY T/D
17
            On March 11, 2016, in support of an ex parte application to shorten time on the motion to
18
     intervene (Doc. 515) filed on behalf of DCDM and Walton Law Group, PC, DCDM filed a
19
     declaration of the undersigned, Dheeraj K. Singhal, dated March 11, 2016 (the “2016 Singhal
20
     Declaration”). (Doc. 515.) For the Court’s reference, a copy of the ex parte application, together
21
     with the accompanying March 11, 2016 declaration is attached as Exhibit 1.
22
            DCDM acknowledges three misstatements made in the 2016 Singhal Declaration. Singhal
23
     Decl. ¶ 4. The chart below sets forth the original statement and explains each misstatement:
24

25                   Original Statement                            Misstatement Because:
              No. 1: At paragraph 4, Singhal stated,        Singhal does not know whether or not
26            “On January 4, 2013, TriPharma, DCDM,         LOJRW signed a copy of the
              and LOJRW signed and executed an              Agreement and, if it was signed,
27
              engagement letter and fee agreement           whether it was signed on January 4,
28            (“Agreement”).”                               2013 or some other date. Singhal
                                                      -3-             RESP. OF DCDM LAW GROUP TO T/D
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                                                            has not been able to locate a copy of
 1                                                          the Agreement containing Walton’s
 2                                                          signature.

 3           No. 2. At paragraph 5, Singhal stated,         Singhal misstated the basis for
             “The Agreement included an attorney lien       Walton’s lien. The DCDM Fee
 4           clause, which granted DCDM and                 Agreement granted a lien to DCDM
             LOJRW liens against any recovery               only. That agreement did not grant a
 5
             obtained by TriPharma to secure                lien to Walton. Walton executed a
 6           TriPharma’s unpaid legal fees. A true and      separate fee agreement with
             correct copy of the redacted Agreement is      TriPharma that grants separate lien
 7           attached hereto as Exhibit A”.                 rights to Walton.
 8

 9           No. 3. LOJRW’s signature block                 Singhal does not know why the
             contained at page 8 of the Agreement was       Walton’s signature block was
10           redacted.                                      redacted, as there was nothing
                                                            confidential about it.
11

12          As confirmed in the accompanying declaration of Dheeraj K. Singhal, none of these

13   misstatements were intentional. Singhal Decl. ¶ 5. Rather, the misstatements occurred because

14   Singhal (and Walton) did not carefully review the 2016 Singhal Declaration that had been prepared

15   by Singhal’s staff, none of whom were intimately familiar with the TriPharma case and the various

16   fee agreements. Id. Singhal can confirm that Walton did not draft any portion of the motion to

17   intervene, the accompanying ex parte application to shorten time or the 2016 Singhal Declaration.

18   Singhal should have carefully reviewed the declaration, as it was to bear his signature when it was

19   filed. Walton should have undertaken a careful review, as well. But neither did. Had Singhal

20   closely read the 2016 Singhal Declaration, Singhal would have immediately realized that the

21   declaration was wrong because, among other things, Singhal has always known that the DCDM

22   Fee Agreement does not grant a lien to LOJRW. The issue would have been that much more

23   apparent to Walton had he reviewed the 2016 Singhal Declaration before or after its filing. Id.

24          None of the misstatements had any material impact on the proceedings for a number of

25   reasons. First, TriPharma and Dameshek have always had a copy of the unredacted copy of the

26   DCDM Fee Agreement since January 4, 2013, when Dameshek received a copy by email. Id. See

27   also Declaration of Reid Winthrop in Supp of T/D Application (“Winthrop Decl.”) Ex. 305. As

28   further explained in the Singhal Declaration, none of the draft versions of the 2016 Singhal
                                                      -4-             RESP. OF DCDM LAW GROUP TO T/D
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 1   Declaration had a redaction of the LOJRW signature block. Undoubtedly, the signature page

 2   should not have been redacted, as there was nothing confidential or privileged about it. Singhal

 3   Decl. ¶¶ 6-8.

 4          Second, no one knows for sure whether Walton did or did not sign the DCDM Fee

 5   Agreement. Walton has testified that he cannot recall one way or the other. Winthrop Decl. Ex. B

 6   at 301:13-303:20 (Walton’s deposition testimony). Regardless, Walton has acted consistent with

 7   the assumption that he had signed the DCDM fee agreement. For example, when Walton informed

 8   Singhal that WLG was terminating the lien subordination agreed to in Paragraph 6 of the DCDM

 9   Fee Agreement (Winthrop Decl. Ex. 306), Walton was working under the assumption that he had

10   signed the DCDM Fee Agreement. Id. at 303:8-20 (“I did believe that it was signed and sent a

11   notice that I was terminating my agreement with him to subordinate my lien for fee payments to

12   his and that was pursuant to that agreement.). In addition, consistent with paragraph 3 of the

13   DCDM Fee Agreement, LOJRW advanced the amount of a sum total of $4,700 to DCDM, an

14   advance of $100 for each of the 47 hours that Singhal personally incurred for the benefit of

15   TriPharma. Singhal Decl. ¶ 10. See also Winthrop Ex. 524 (attaching DCDM email to Dameshek

16   and Walton that included initial billing statement reflecting 47 hours of Singhal’s time). Had

17   Walton not believed that he had agreed to the DCDM Fee Agreement, Walton is unlikely to have

18   advanced $4,700 to DCDM without TriPharma’s knowledge, consent and agreement to reimburse

19   LOJRW.

20          And third, WLG removed any potential confusion about the source of WLG’s lien rights

21   when Walton filed a declaration attaching WLG’s redacted fee agreement signed by Dameshek

22   showing the contractual basis of WLG’s lien. (Doc. 538 filed on April 1, 2016.) Thus, when this

23   Court heard and granted the DCDM/WLG motion to intervene on April 5, 2016, the Court had

24   before it the respective fee agreements of both DCDM and WLG, the terms of the attorneys’ liens

25   that TriPharma respectively granted to DCDM and WLG, and copies of Dameshek’s signatures on

26   each fee agreement. (Doc. 543 (minute order reflecting disposition to grant motion to intervene).)

27          Dameshek himself obliterated any possible confusion about his state of mind and his

28   possession of the original DCDM Fee Agreement in a July 2017 declaration (Doc. 761-3 (Decl. of
                                                      -5-             RESP. OF DCDM LAW GROUP TO T/D
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 1   Evan Dameshek in Supp. of Mot. to Determine and Estimate Att’y Liens), in which he made two

 2   unretractable admissions:

 3          1) Dameshek testified, “A true and correct copy of the DCDM Engagement Agreement is

 4   attached hereto as Exhibit D.” (Id. at ¶ 8.) The document attached as Exhibit D was a complete

 5   copy of the unredacted DCDM Fee Agreement. Dameshek’s Exhibit D did not contain Walton’s

 6   signature.

 7          2) Dameshek further testified, “TriPharma granted DCDM a lien on all its ‘receivables and

 8   monies recovered from any of its pending claims.’” (Id. at ¶ 9.) By confirming that TriPharma did

 9   in fact grant a lien to DCDM, Dameshek confirmed the validity and enforceability of the

10   underlying DCDM Fee Agreement which set forth the attorneys’ lien.

11          In short, Dameshek’s unequivocal admissions left no doubt as to T/D’s knowledge of the

12   DCDM Fee Agreement or as to T/D’s position on the validity and enforceability of DCDM’s Fee

13   Agreement. In an effort to isolate WLG from DCDM, T/D’s motion to estimate liens gushed to the

14   defense of DCDM and repeatedly confirmed the enforceability of DCDM’s fee agreement:

15                   “While DCDM holds an attorney's lien securing the claim for provision of legal

16                    services pursuant to DCDM's Engagement Agreement, the same is not the case with

17                    respect to LOJRW.” Mot. to Determine and Estimate Attorneys’ Liens (Doc. 761) at

18                    1:19-21;

19                   “When Mr. Walton and DCDM requested to intervene in this case over a year ago,

20                    their motion was premised upon a stated fact: LOJRW and DCDM had an

21                    “economic interest in the pending bankruptcy case by virtue of their valid and

22                    enforceable liens that attached to any distributions made to TriPharma .... “ That

23                    statement was true only as to DCDM and untrue as to LOJRW. Id. at 2:4-9;

24                   “As stated above, however, there is valid lien in favor of DCDM. Copies of the bills

25                    submitted by DCDM are attached as Exhibit E to the Dameshek Declaration and

26                    establish the outside sum owed to DCDM is $192,560.50.” Id. at 8:22-24.

27

28
                                                        -6-             RESP. OF DCDM LAW GROUP TO T/D
                                                                         APPLICATION FOR OSC RE FRAUD
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 1          These concessions leave no doubt that T/D concedes that the DCDM Fee Agreement is

 2   valid and enforceable, that DCDM has a valid lien on assets secured by TriPharma’s allowed

 3   secured claim, and that DCDM is owed a maximum, according to T/D, of $192,560.50. Id.

 4          One would expect that a party moving this Court for an order to show cause about

 5   misstatements would, at the very least, make sure that the application is based upon admissible

 6   facts and accurately sets forth relevant proceedings in the underlying case. The T/D Application

 7   fails on both counts. It is disturbing, to say the least, that T/D did not submit a declaration from

 8   Dameshek attesting to the alleged facts contained in the T/D Application. Not only does T/D fail

 9   to submit any declaration from Dameshek containing admissible evidence, T/D’s attorney, John

10   Randolph Haag, believes he is not bound by any of T/D’s unequivocal admissions and positions set

11   forth in T/D’s prior filings with this Court, including T/D’s Motion to Determine and Estimate

12   Liens (Doc. 761) and Dameshek’s supporting declaration (Doc. 761-3). Attorney Haag has gone

13   so far as to assert—again without any supporting declaration—that Singhal “tried to trick Haag”

14   (emphasis in original) by providing the very same unredacted agreement that Dameshek had filed

15   with this Court with Document 761-3. T/D Application at 25:14-25. See also Singhal Decl. Ex. 2

16   (attaching copy of email sent to Haag in which Singhal forwarded both the fee agreement and the

17   signature page). How could I trick Haag (or Hinds for that matter) by providing a duplicate of the

18   documents in my possession? That is frankly ridiculous.

19          Relying exclusively on the misstatement in paragraph 4 of the 2016 Singhal Declaration—

20   i.e., that “[o]n January 4, 2013, TriPharma, DCDM, and LOJRW signed and executed an

21   engagement letter and fee agreement”—the T/D Application lets out a shrieking cry that “fraud”

22   has been committed:

23                  We now know the quoted sentence from the Singhal
24                  Declaration was a fraud on the Court, the Trustee and the
                    parties to this BK Case (especially T/D) because DCDM and
25                  WLG (f.k.a. LOJRW) knew WLG did not sign the document,
26                  and there was no fully executed copy of the document, and
                    they concealed that fact since 2013 – including in the Joint
27                  Motion – and thereafter.
28
                                                       -7-             RESP. OF DCDM LAW GROUP TO T/D
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 1   T/D Application at 6:23-28 (emphasis in original). T/D similarly shrieks about the redaction of

 2   WLG’s signature block:

 3                 This redaction was a fraud on the Court, the Trustee, and the
 4                 parties to this BK Case (especially T/D) because it concealed
                   that there was no WLG/Walton signature on the so-called
 5                 “Agreement”; and it concealed that no fully executed version
 6                 of the “Agreement” was in existence; and it concealed the
                   Singhal declaration claiming “full execution” was false; and
 7                 it concealed there was no fully executed and delivered fee
 8                 contract in existence to create the contractual rights to fees
                   and liens asserted by WLG and DCDM in the BK Case.
 9
     T/D Application at 7:7-14 (emphasis in original).
10
            In summary, Singhal made three misstatements: 1) attesting that LORJW signed the fee
11
     agreement, when he did not know for sure whether Walton signed it; 2) attesting that LOJRW’s
12
     lien was based upon the DCDM Fee Agreement, when it was based on LOJRW’s own fee
13
     agreement with T/D; and 3) redacting LOJRW’s signature block, when there was nothing
14
     confidential about the signature block. These three statements constitute the sum total of the fraud
15
     on “the Court, the Trustee, and the parties to this BK case” and especially T/D who has been forced
16
     to tell the truth about money it took from this bankruptcy estate without permission.
17
            As noted above, none of the misstatements misled the Court or any of the parties to this
18
     proceeding. The record before the Court when it ruled on the WLG and DCDM motion to
19
     intervene included the respective fee agreements that TriPharma executed with WLG and DCDM,
20
     as well as the terms of the respective attorneys’ liens that TriPharma granted to WLG and DCDM.
21
     (Docs. 515 & 538.) Furthermore, by the time that the Court entered the order approving the WLG
22
     and DCDM motion to intervene (Doc. 787 entered on July 31, 2017), Dameshek had already
23
     submitted a duplicate of the complete unredacted DCDM Fee Agreement to the Court at Document
24
     761-3 filed on July 6, 2017, confirming that he knew what was under the redactions in the 2016
25
     Singhal Declaration.
26
            Because none of the misstatements in the 2016 Singhal Declaration had any material
27
     consequence to the case at bar, the T/D Application must be denied.
28
                                                      -8-             RESP. OF DCDM LAW GROUP TO T/D
                                                                       APPLICATION FOR OSC RE FRAUD
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 1   III.     THIS COURT SHOULD BE OUTRAGED AT T/D COUNSEL’S FLAGRANT

 2   DISREGARD OF RULE 9011(A).

 3            Federal Rule of Bankruptcy Procedure 9011(a) provides, in pertinent part, that when an

 4   attorney presents a pleading to the bankruptcy court, the attorney “is certifying that to the best of

 5   the person’s knowledge, information, and belief, formed after an inquiry reasonable under the

 6   circumstances, —”

 7                   (2) the claims, defenses, and other legal contentions therein are warranted
 8                   by existing law or by a nonfrivolous argument for the extension,
                     modification, or reversal of existing law or the establishment of new law;
 9
                     (3) the allegations and other factual contentions have evidentiary support
10
                     or, if specifically so identified, are likely to have evidentiary support after
11                   a reasonable opportunity for further investigation or discovery;
12   Fed. R. Bankr. Proc. 9011. Rule 9011(c)(1)(B) grants bankruptcy courts the right to impose

13   sanctions for violations of Rule 9011 on the court’s “own initiative.” Furthermore, this Court, like

14   all bankruptcy courts, has “the inherent power to sanction vexatious conduct presented before the

15   court [pursuant to 11 U.S.C. § 105(a)].” In re Rainbow Magazine, Inc., 77 F.3d 278, 284 (9th Cir.

16   1996).

17            Sanctions are appropriate here because, as discussed below, the T/D Application is not

18   based upon existing law and the factual contentions lack evidentiary support. At the outset, the

19   T/D Application does not even attach a declaration attesting to the 25+ pages of “facts,” which

20   largely consist of Attorney Haag’s conjecture and vitriol. T/D’s counsel should be required to

21   provide the evidentiary support that supports the factual contentions made in the T/D Application.

22   In addition, T/D and its counsel should be required to provide the legal authority that would allow

23   this Court to grant the remedies and sanctions that T/D ask of this Court.

24                   In Addition to Being Required to Layout the Evidentiary Basis, T/D’s Counsel

25                   Should Be Required to Set Forth the Law Supporting the T/D Application.

26            The dispositive issue in the T/D Application is whether the Court would have denied the

27   DCDM and WLG motion to intervene had the Court known that DCDM did not have a copy of

28   Walton’s signature on the DCDM Fee Agreement. That issue depends, in turn, on whether DCDM
                                                          -9-              RESP. OF DCDM LAW GROUP TO T/D
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 1   had a protectable economic interest in this Court which is not otherwise protected as required by

 2   the Federal Rule of Bankruptcy Procedure Rule 2018(a), which governs permissive intervention.

 3   See In re La Sierra Fin. Servs., Inc., 290 B.R. 718, 728 (B.A.P. 9th Cir. 2002) (describing the

 4   “cause” identified in Rule 2018 as “some economic or other similar interest in the pending matter”

 5   which is not otherwise protected).

 6          Here, DCDM’s economic interest is based upon DCDM’s demand to be paid for services

 7   rendered to TriPharma in this bankruptcy proceeding between January 2013 and July 2014. As

 8   T/D may recall, they conceded to DCDM’s right to be paid in their motion to estimate liens. (Doc.

 9   761 and 761-3.) Before DCDM and WLG were allowed to intervene, none of the interested parties

10   had any incentive to protect the rights of TriPharma’s former lawyers. With the 2016 Singhal

11   Declaration, DCDM made prima facie showing that its Fee Agreement granted DCDM a lien over

12   any recoveries obtained by TriPharma in the Imagenetix bankruptcy proceeding. For these

13   reasons, this Court agreed that DCDM (and WLG) had a protectible economic interest and had

14   established sufficient “cause” to be allowed to intervene under FRBP Rule 2018. (Doc. 787 (Order

15   on Jt. Mot. for Order Permitting WLG and DCDM to Intervene in Bankruptcy Proceedings).)

16          As shown by the various excerpts from the T/D Application quoted in the Introduction,

17   supra, the T/D Application urges the Court to find that the DCDM Fee Agreement is invalid under

18   California law. Compliance with FRBP Rule 9011(a)(2) when they filed the T/D Application

19   required T/D’s counsel to certify to this Court that existing California and federal law—or a non-

20   frivolous argument “for the extension, modification, or reversal of existing law or the

21   establishment of new law”—supports a finding that the DCDM Fee Agreement is invalid because

22   it lacks Walton’s signature. If that is the case, let’s see the supporting law.

23          California Business & Professions Code (“B&P”) Section 6148, which governs the

24   enforceability of non-contingent attorney-client fee agreements, states that in any case in which it

25   is “reasonably foreseeable that total expense to a client, including attorney fees, will exceed one

26   thousand dollars ($1,000), the contract for services in the case shall be in writing.” B&P § 6148

27   further requires that the “attorney shall provide a duplicate copy of the contract signed by both the

28   attorney and the client, or the client’s guardian.”
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 1           Here, DCDM has repeatedly asserted that it has a valid and enforceable fee agreement with

 2   TriPharma because Dameshek signed the fee agreement on behalf of TriPharma and returned a

 3   copy to DCDM. Exhibit 305 to the Winthrop Declaration confirms that a complete copy of the

 4   written DCDM Fee Agreement was emailed to Evan Dameshek on January 4, 2013. On January 7,

 5   2013, Dameshek returned a single page containing his execution of the fee agreement on behalf of

 6   TriPharma. Singhal Decl. Ex. 3.1 Thus, on January 7, 2013, both DCDM and TriPharma

 7   possessed a duplicate copy of the fee agreement and a duplicate copy of Dameshek’s signature on

 8   the agreement, satisfying the signature requirement of B&P § 6148.

 9           Any argument that Dameshek was confused about the terms of the DCDM Fee Agreement

10   or its enforceability without Walton’s signature is belied by numerous emails that Dameshek

11   exchanged with Singhal just days after signing the fee agreement. In the same email thread in

12   which Dameshek attached his signature page, the following exchange took place between Singhal

13   and Dameshek (Singhal Dec. Ex. 42):

14       Singhal (1/8/2013 at 11:46 a.m.):    “Got it! Thank you.”
15
         Dameshek (1/8/2013 at 12:10 p.m.)    “No, thank YOU! Now go win me some money! All
16                                            kidding aside, I look forward to meeting you and
                                              working with you.”
17

18       Singhal (1/8/2013 at 9:50 p.m.)      “Same here. Hopefully we can get you the IP rights
                                              you need to bring in the rainfall.”
19
         Dameshek (1/9/2013 at 8:45 a.m.)     “Amen to that. Do you have any questions of me?
20                                            Notwithstanding not being a lawyer, I often have
21                                            strong opinions - John doesn't always agree with

22   1
       Pursuant to Federal Rules of Evidence 502(a), TriPharma has affected a waiver of the attorney
     client privilege as to, at the very least, all communications concerning the same subject matter as
23   TriPharma’s disclosures made as part of the T/D Application, which include the email from
     Singhal to Dameshek dated January 4, 2013. Fed. R. Evid. 502(a) (“When a disclosure is made in
24   a federal proceeding …, the waiver extends to an undisclosed communication … only if: (1) the
     waiver is intentional; (2) the disclosed and undisclosed communications or information concern the
25   same subject matter; and (3) they ought in fairness to be considered together.”) The January 7,
     2013 email from Dameshek to Singhal replies to T/D’s Exhibit 305. The emails should, therefore,
26   be considered together.
     2
27     For the same reasoning set forth footnote 1, T/D’s waiver of the attorney-client privilege should
     extend to the email exchanges set forth in Exhibit 4 to the Singhal Declaration similarly should be
28   considered together with T/D’s Exhibit 305.
                                                    -11-             RESP. OF DCDM LAW GROUP TO T/D
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                                                 them - particularly as it relates to the bk filing and,
 1                                               hopefully, getting it jettisoned. Thanks again.”
 2                       …                                                   …
       Singhal (1/9/2013 at 11:55 a.m.)          “You sound like a client who has been through his
 3                                               share of litigation and lawyers.”
 4
       Dameshek (1/9/2013 at 12:23 p.m.)         “Yes. Fortunately -- I guess -- I'm always the
 5                                               Plaintiff. Although I consider my shelf to be fairly
                                                 shrewd; I find myself always getting screwed. This
 6                                               situation though has been the Super Bowl of all my
 7                                               litigation. Fortunately, John is, hands down, the best
                                                 lawyer with whom I have been involved.”
 8

 9           This email exchange is particularly illustrative of Dameshek’s state of mind upon signing

10   the DCDM Fee Agreement. First off, Dameshek confirms his appreciation for Singhal’s

11   willingness to represent TriPharma under the agreed upon fee structure, with no indication that

12   Dameshek was awaiting Walton’s signature before DCDM would be officially retained (“No,

13   thank YOU! Now go win me some money! All kidding aside, I look forward to meeting you and

14   working with you.”). Dameshek then forewarns Singhal that Dameshek will have strong opinions

15   on legal issues and is intimately involved in the Imagenetix bankruptcy (“Notwithstanding not

16   being a lawyer, I often have strong opinions - John doesn't always agree with them - particularly as

17   it relates to the bk filing and, hopefully, getting it jettisoned.”). In the last email of the exchange,

18   Dameshek plays victim while boasting that he is litigious (“Fortunately -- I guess -- I'm always the

19   Plaintiff. Although I consider my shelf to be fairly shrewd; I find myself always getting screwed.”)

20   And finally, Dameshek puts down on paper the praises he often sung about Walton’s legal skills

21   and how adeptly Walton was handling the most complex litigation in which Dameshek has been

22   involved (“This situation though has been the Super Bowl of all my litigation. Fortunately, John is,

23   hands down, the best lawyer with whom I have been involved.”)

24           Against the background of these email exchanges occurring just two days after Dameshek

25   signed the DCDM Fee Agreement, exchanges that confirmed Dameshek’s enthusiasm to have

26   DCDM and WLG as TriPharma’s counsel in the bankruptcy, T/D argues that they believed that

27   Walton’s signature was required before DCDM’s fee agreement would become effective. T/D

28   Application Memo. at n.14. (“T/D never contemplated that WDT#3 would be effective without
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 1   execution by all three parties and delivery of the fully executed agreement to T/D.”) Forging

 2   ahead, without any eye to the truth, T/D states that “Singhal expressly led T/D to believe the

 3   document would not be effective until fully executed ….” Really? Where in that email exchange

 4   does Singhal say that Walton’s signature was required. Indeed, T/D cannot point to a single email

 5   from Singhal remotely suggesting that the DCDM Fee Agreement would not be effective without

 6   Walton’s signature. Such cowardly assertions devoid of any factual support explains why

 7   Dameshek and T/D’s counsel elected to not file a supporting declaration from Dameshek;

 8   otherwise, they would be constrained by the truth and may risk consequences for false testimony.

 9          In order to comply with Rule 9011(a)(2), T/D must show that existing case law—or the

10   extension, reversal, modification of existing law—supports T/D’s position that an attorney-client

11   fee agreement signed by both the attorney and the client becomes unenforceable under B&P 6148

12   if another lawyer to the agreement performs under the agreement but may not have signed it. If

13   such authority existed, surely T/D would have cited to it. They have not because they cannot.

14   Indeed, the undersigned has not been able to locate any such legal authority.

15                  Counsel for T/D Should Be Required to Show Cause Why They Should Not be

16                  Sanctioned for the Relief Sought by the Application.

17          This Court should be incensed at the remedies and sanctions sought in the T/D Application.

18   Attorney Reid Winthrop (and ghostwriter Attorney John Randolph Haag) should be charged with

19   providing the factual basis and the legal authority that would permit the Court to grant any of the

20   following egregious remedies and sanctions requested by the T/D Application:

21          1) “An order holding WWDS in contempt.” Attorneys Winthrop and Haag have failed

22   to cite to any legal authority whatsoever on the standard for contempt under the Ninth Circuit and

23   failed to show how the conduct of DCDM and WLG rises to the level of contempt. “In a civil

24   contempt action, the moving party has the burden by clear and convincing evidence that the

25   contemnors violated a specific and definite order of the court, and the burden then shifts to the

26   contemnors to demonstrate why they were unable to comply.” FTC v. Enforma Natural Products,

27   Inc., 362 F.3d 1204, 1211 (9th Cir. 2004). Which order was violated and how? T/D’s counsel

28   have failed to identify any specific and definite order of the Court that was violated.
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 1           2) “An order striking the previous order granting the WLG/DCDM Joint Motion to

 2   intervene.” This request is a disguised and defective request for the Court to reconsider and

 3   overrule its prior order that must be made under Federal Rule of Civil Procedure 60(b). T/D’s

 4   counsel have failed to set forth any legal authority permitting this Court to grant relief from a prior

 5   order under any of the six enumerated grounds of Rule 60(b).

 6           3) “An order dismissing with prejudice the pending OSC initiated by WLG/DCDM.”

 7   In asking for a dismissal of the OSC re Contempt, T/D seek to equate the three misstatements to

 8   the false statements made to the Court in a stipulation that the Court approved late on a Friday

 9   evening of July 18, 2014, in which the Court 1) approved a $20,000 payment directly to

10   TriPharma, and 2) ordered no notice or hearing was required to effectuate the stipulation. (Doc.

11   400.) Incensed at the lack of candor to the Court, the Court vacated the order approving the

12   stipulation nunc pro tunc. (Doc. 442.)

13           T/D counsel must have felt particularly brave in asking the Court to dismiss the OSC re

14   Contempt proceeding. As T/D and its counsel are well aware, while the application requesting an

15   order to show cause was filed by WLG and DCDM, it is the Court that issued the Order to Show

16   Cause re Contempt because the Court must “determine the consequences of the actions taken in

17   violation of its orders.” (Doc. 890 at 3 (Tentative Ruling on OSC re Contempt).) In other words,

18   T/D and its counsel are asking the Court to forgive and forget all of T/D’s violations of this Court’s

19   orders. Wow.

20           5) “An order requiring WWDS to pay all attorney’s fees and expenses for T/D and

21   other parties to the extent they were incurred in addressing issues involving WWDS since the

22   filing of the Joint Motion.” In other words, T/D and its counsel are asking the Court to order

23   DCDM and WLG to pay for the attorneys’ fees that T/D have incurred when forced to disclose the

24   truth to this Court, to rectify their willful violations of this Court’s orders, as well as for fees T/D

25   incurred when submitting knowingly false and inconsistent testimony to this Court on multiple

26   occasions. The audacity is unrivaled.

27            7) “An order equitably striking the alleged WLG and DCDM attorney liens asserted

28   against T/D.” What exactly does it mean to equitably strike the attorneys’ liens and does this
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 1   Court have legal authority to do so? T/D fail to provide any case law supporting such a broad

 2   exercise of judicial authority. In light of all the wrongs that T/D has engaged in during the

 3   pendency of this bankruptcy proceeding, many of which were enabled by T/D’s counsel, both past

 4   and present, T/D and its counsel must explain how the facts presented support the striking the

 5   attorneys’ liens as well as provide the legal authority that would permit the Court to grant this

 6   serious remedy.

 7          8) “An order reporting WWDS to the State Bar of California for perpetrated fraud on

 8   the Court and others so the State Bar can investigate and determine if disbarment,

 9   suspension or other remedies are appropriate.” Local Civil Rules of Practice for the United

10   States District Court for the Southern District of California Rule 83.5, which is made applicable to

11   the Southern District Bankruptcy Courts, provides that Courts may “refer the matter to the

12   disciplinary body of any court before which the attorney has been admitted to practice.” Nowhere

13   is there any authority for the bankruptcy court to make a report directly to the State Bar of

14   California. Not only is this request highly offensive and unprofessional, the Civil Rules do not

15   permit such an order. T/D and its counsel must be required to explain how the Court could

16   possibly entertain such relief in light of the Civil Rules and the utter lack of admissible evidence

17   presented by T/D and its counsel.

18          9) “An order referring WWDS to the appropriate attorney misconduct investigation

19   and enforcement tribunal of the United States Bankruptcy Court.” As parties who have

20   submitted knowingly false declarations to this Court and lied outright, it is interesting that T/D and

21   its counsel request this relief. If the Court would consider a referral of DCDM and WLG to the

22   disciplinary body for the Southern District for the misstatements in the 2016 Singhal Declaration,

23   one can only imagine the consequences to T/D, DHF and Hinds for their conduct before this Court.

24   IV.    RESPONSE TO THE JOINDER OF JAMES ANDREW HINDS, JR. AND HINDS &

25   SHANKMAN, LLP

26          In an eyebrow-raising joinder filed by James Andrew Hinds, Jr. and Hinds & Shankman,

27   LLP, Hinds and H&S join the T/D Application because they have had enough of being accused of

28   lying, making false representations to the Court and advancing arguments that defy common sense:
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                    H&S joins with the AOSC because it has been the subject matter of
 1
                    outright lies and vicious innuendo from WLG and DCDM who contend
 2                  that H&S acted to divert money due to TriPharma and DHF under the
                    Debtor's Plan to third-parties in violation of this Court's Orders. H&S
 3
                    denies now, and has denied throughout this matter that its conduct was
 4                  designed in any way to misdirect funds under the Debtor's Plan. Yet,
                    despite there being no direct evidence of any improper acts on the part of
 5
                    H&S, the record is now clear that WLG and DCDM perpetrated a fraud
 6                  on this Court as part of their Joint Motion.
 7   (Doc. 1017 at 2:20-26.) In other words, the spotlight should be shifted from them to DCDM/WLG

 8   because there is “no direct evidence of any improper acts on the part of H&S” or presumably

 9   Hinds himself. Not quite.

10          The Court may recall the conflicting testimony from Hinds about an accounting of

11   TriPharma/Dameshek/DHF/Imagenetix-related funds in the H&S Client Trust Account. In

12   Document 741, Hinds testified that the sum of $17,969.48 was paid to his H&S on March 4, 2016

13   and that two wires were sent to DHF. (Doc. 741 at ¶¶ 5-6.) In Document 905, Hinds testified that

14   the sum of $17,969.48 was actually sent to GFY LLC, not to his firm. (Doc. 905 ¶ 6). In

15   Document 905, Hinds also testified that the two wires that were supposedly sent to DHF according

16   to Document 741 were actually sent to GFY LLC. These gross factual inaccuracies are just a few

17   of instances of false testimony that Hinds has submitted to this Court.

18          Perhaps Hinds has also forgotten about his knowingly false statement made under penalty

19   of perjury that “[a]s a result of the filing of the Order to Show Cause, TriPharma returned to my

20   Clients Trust Account $20,000.00.” (Doc. 708 (Decl. of James Andrew Hinds, Jr. in Support of

21   Opp. to Application for OSC) at ¶ 4.) In the accompanying Dameshek Declaration, Dameshek

22   testified, again under penalty of perjury, that “as a result of the filing of the Order to Show Cause,

23   TriPharma has returned $20,000.00 to the Trust Account of Hinds and Shankman, LLP.” (Doc.

24   708 (Decl. of Evan Dameshek in Support of Opp. to Application for OSC) at ¶ 28.) In reality, both

25   Dameshek and Hinds were lying to the Court because TriPharma never returned $20,000 to the

26   H&S Trust Account, as confirmed by the Hinds’ accounting in Document 905. Indeed, if such a

27   deposit was made, perhaps Hinds and H&S can provide a copy of the deposit slip or an excerpt

28   from the Client Trust Account monthly statement confirming the Deposit.
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 1          Of course, one cannot forget the immemorable arguments that Hinds and H&S made to

 2   oppose the OSC re Contempt. As the Court may recall, as counsel for DHF and TriPharma, Hinds

 3   and H&S argued that DHF acquired TriPharma’s allowed claims without being subject to the

 4   Court’s Confirmation Order or the attorneys’ liens of DCDM and WLG. (Doc. 708 (Opp. and

 5   Response to OSC at 3:16-27.) The Court was troubled by the argument, but limited its response,

 6   saying “The court does not understand why DHF would contend it is not bound by the Plan as a

 7   successor in interest.” (Doc. 731 (Tentative Ruling) at 3.)

 8          In the Conclusion section of their joinder, Hinds and H&S recite verbatim the incredible

 9   remedies and sanctions requested in the T/D Application. Should the Court deem that sanctions or

10   an order to show cause against Winthrop and Haag is appropriate, the court should add Hinds and

11   H&S to that list of offending counsel.

12   V.     CONCLUSION

13          For the reasons stated above, DCDM hereby requests that this Court deny the T/D

14   Application. DCDM further asks that T/D, T/D’s counsel, Hinds and H&S should be required to

15   show cause why they should not be sanctioned for the showstopping remedies and sanctions that

16   they each seek for three misstatements that had no impact on these legal proceedings. And finally,

17   DCDM requests that T/D and T/D’s counsel (including both Winthrop and Haag) be required to

18   show cause why they should not be sanctioned for willful violations of Rule 9011(a)(2) and (a)(3).

19
     Dated: August 7, 2018                             DCDM LAW GROUP, PC
20

21                                                     By    /s/ Dheeraj K. Singhal
                                                            DHEERAJ K. SINGHAL
22                                                          Attorneys for Intervenor
                                                            DCDM LAW GROUP, PC
23

24

25

26

27

28
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 1                            DECLARATION OF DHEERAJ K. SINGHAL

 2   I, Dheeraj K. Singhal, hereby declare and state as follows:

 3          1.      I am the principal of the DCDM Law Group, PC (“DCDM”) and an attorney at law

 4   licensed to practice and practicing before this Court and the Courts of the State of California. The

 5   facts set forth in this declaration are personally known to me to be true and correct and if called

 6   upon to do so, I could and would testify competently thereto.

 7          2.      This declaration is submitted in support of the Response of DCDM Law Group, PC

 8   to the Application of TriPharma and Dameshek for Order to Show Cause RE Fraud Perpetrated on

 9   the Court, the Trustee, TriPharma and Dameshek (collectively, “T/D”) by Intervenors Walton Law

10   Group (“WLG”) and DCDM Law Group (“T/D Application”).

11          3.      On March 11, 2016, in support of an ex parte application to shorten time on the

12   motion to intervene (Doc. 515) filed on behalf of DCDM and Walton Law Group, PC, DCDM

13   filed a declaration of the undersigned dated March 11, 2016 (the “2016 Singhal Declaration”).

14   (Doc. 515.) For the Court’s reference, a copy of the ex parte application, together with the

15   accompanying March 11, 2016 declaration is attached as Exhibit 1.

16          4.      DCDM acknowledges three misstatements made in the 2016 Singhal Declaration.

17   The chart below sets forth the original statement and identifies each specific misstatement:

18
                    Original Statement                               Misstatement Because:
19
             No. 1: At paragraph 4, I stated, “On            I do not know whether or not
20           January 4, 2013, TriPharma, DCDM, and           LOJRW signed a copy of the
             LOJRW signed and executed an                    Agreement and, if it was signed,
21           engagement letter and fee agreement             whether it was signed on January 4,
             (“Agreement”).”                                 2013 or some other date. I
22                                                           have not been able to locate a copy of
                                                             the Agreement containing Walton’s
23
                                                             signature.
24
             No. 2. At paragraph 5, I stated, “The           I misstated the basis for Walton’s
25           Agreement included an attorney lien             lien. The DCDM Fee Agreement
             clause, which granted DCDM and                  granted a lien to DCDM only. That
26           LOJRW liens against any recovery                agreement did not grant a lien to
27           obtained by TriPharma to secure                 Walton. Walton executed a separate
             TriPharma’s unpaid legal fees. A true and       fee agreement with TriPharma that
28                                                           grants separate lien rights to Walton.
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             correct copy of the redacted Agreement is
 1           attached hereto as Exhibit A”.
 2
             No. 3. LOJRW’s signature block                  I do not know why the Walton’s
 3           contained at page 8 of the Agreement was        signature block was redacted, as there
             redacted.                                       was nothing confidential about it.
 4

 5          5.      None of these misstatements were intentional. Rather, the misstatements occurred
 6   because I (and John Walton) did not carefully review the 2016 Singhal Declaration that had been
 7   prepared by my staff, none of whom were intimately familiar with the TriPharma case and the
 8   various fee agreements. I can confirm that Walton did not draft any portion of the motion to
 9   intervene, the accompanying ex parte application to shorten time or the 2016 Singhal Declaration. I
10   should have carefully reviewed the declaration, as it was to bear my signature when it was filed.
11   Walton should have undertaken a careful review, as well. But neither of us did. Had I closely read
12   the 2016 Singhal Declaration, I would have immediately realized that the declaration was wrong
13   because, among other things, I have always known that the DCDM Fee Agreement does not grant a
14   lien to LOJRW. The issue would have been that much more apparent to Walton had he reviewed
15   the 2016 Singhal Declaration before or after its filing.
16          6.      As to the redaction, I recall asking a DCDM staff member to redact the confidential
17   portions of the DCDM Fee Agreement to make sure that DCDM was complying with its duties to
18   preserve the attorney-client privilege with its former client, TriPharma. I have emails with my
19   staff evidencing an exchange about the redactions and confirming that I did not want them to
20   redact anything that was not confidential. I would be happy to provide them to the Court for an in
21   camera review. None of the redacted versions of the DCDM Fee Agreement I exchanged with my
22   staff contained a redaction of the LOJRW signature block. Undoubtedly, the signature page should
23   not have been redacted, as there was nothing confidential or privileged about it.
24          7.      I have no recollection as to why the LOJRW signature block was redacted. Based
25   upon my review of the electronic files of DCDM, which are kept in the normal course, I found a
26   file named “2016-3-11 Declaration of DKS & Exhibits – Final” that was last edited at 3:53 p.m. on
27   Friday, March 11, 2016. The ex parte application was filed as Document 515 at 4:14 that same
28
                                                       -2-             RESP. OF DCDM LAW GROUP TO T/D
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 1   afternoon. That file contained all the redactions set forth in the 2016 Singhal Declaration but did

 2   not redact the signature block of LOJRW.

 3            8.    Just four minutes later, at 3:57 p.m. on the afternoon of March 11, 2016, there is

 4   another file containing my declaration, with this file named “2016-3-11 Declaration of DKS &

 5   Exhibits – Final_Redacted.” The only difference between the two files is the redaction of the

 6   LOJRW signature block. It makes no sense to me why the signature block would have been

 7   redacted at the last minute. I know for sure that I did not redact the signature block myself. My

 8   conversations with my former associate, Ryan Stubbe, did not bring forth any recollection for

 9   either of us. I was unable to reach the two other staff members who were involved with preparing

10   and filing the ex parte application and the 2016 Singhal Declaration.

11            9.    No one knows for sure whether Walton did or did not sign the DCDM Fee

12   Agreement. To the best of my recollection, I never gave a second thought to Walton’s signature

13   until some point in 2016 or 2017. Even then, I did not think it was significant. In my mind, I

14   treated the DCDM Fee Agreement just as I did any other client fee agreement, in that the key

15   issues were whether the client had signed it and whether the client had a duplicate of the executed

16   agreement. Here, Dameshek had signed the DCDM Fee Agreement and he had a copy. Check and

17   check.

18            10.   My actions and those of Walton were consistent with Walton having agreed to and

19   signed the DCDM Fee Agreement. For example, as my email to Dameshek and Walton of March

20   6, 2013 shows, I submitted a billing statement to them showing that I had incurred 47 hours of

21   billable time on behalf of TriPharma. Exhibit 524 to the Winthrop Declaration is a copy of that

22   March 6, 2013 email and billing statement. In response, LOJRW wrote a check to DCDM Law

23   Group, PC in the amount of $4,700 dated on or about March 13, 2013, to advance $100 for each of

24   the 47 hours that I personally incurred for the benefit of TriPharma. Had Walton not believed that

25   LOJRW had agreed to the DCDM Fee Agreement, Walton is unlikely to have advanced $4,700 to

26   DCDM without TriPharma’s knowledge, consent and agreement to reimburse LOJRW.

27            11.   On September 18, 2017, in response to Attorney John Randolph Haag’s request for

28   a signed copy of the DCDM Fee agreement, I forwarded him a copy of the final version of the fee
                                                      -3-             RESP. OF DCDM LAW GROUP TO T/D
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 1   agreement that I had forwarded to Dameshek on January 4, 2013 and a copy of Dameshek’s

 2   signature page that he returned to me on January 7, 2013.

 3           12.    Attached as Exhibit 2 hereto is a duplicate of the September 2017 email to Haag,

 4   along with the accompanying attachments.

 5           13.    Attached as Exhibit 3 is a duplicate of Dameshek’s January 7, 2013 email to me

 6   including his signature page.

 7           14.    Attached as Exhibit 4 is a duplicate of an email exchange that I had with Dameshek

 8   between January 8-9, 2013 in the same email thread in which Dameshek attached his signature

 9   page.

10

11           I declare, under penalty of perjury that the foregoing is true and correct, and that this

12   declaration was executed on the 7th day of August, 2018 at Westlake Village, California.

13                                                            /s/ Dheeraj K. Singhal
                                                              DHEERAJ K. SINGHAL
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                                                        -4-             RESP. OF DCDM LAW GROUP TO T/D
                                                                         APPLICATION FOR OSC RE FRAUD
